                 Case 1:25-cv-03181-JMF           Document 44    Filed 06/20/25         Page 1 of 3




        June 20, 2025                                               Thomas A. Warns
                                                                    Partner
                                                                    Thomas.Warns@klgates.com

        Via ECF                                                     T +1 212 536 4009
                                                                    F +1 212 552 5001

        Hon. Jesse M. Furman
        Thurgood Marshall Courthouse
        40 Foley Sq.
        New York, NY 10007

        Re:      Checkmate.com Inc. v. Arjun Vasan, No. 25-CV-3181 (JMF) – Response in Opposition
                 to Defendant’s Letter Motion to Stay, ECF No. 38


        Dear Judge Furman:

        We write on behalf of Plaintiff Checkmate.com, Inc. (“Checkmate”) in opposition to pro se
        Defendant Arjun Vasan’s request for a “Temporary Stay of Proceedings” (ECF 38) and to
        respectfully request that the Court strike Mr. Vasan’s AI-generated “Requests for Judicial Notice”
        added to the Court’s docket (ECF No. 39).

        By way of background, Mr. Vasan is a pro se Defendant responding to certain tort and contract
        claims based on misrepresentations Mr. Vasan made in connection with the sale of a voice ordering
        technology company to Checkmate in 2024. Recently, Mr. Vasan has boasted about his use of
        generative AI to create filings in an expressly vexatious effort to, in his words, cause needless
        expense and become an “insufferable” litigant who will “crush” Checkmate and “completely
        crush” and “ruin” its counsel. See generally Amended Complaint ¶ 36. Both the letter motion
        (ECF No. 38) and the “Requests for Judicial Notice” (ECF No. 39) fall into that category and
        should be viewed accordingly.

        With respect to Mr. Vasan’s letter motion seeking a “temporary stay,” Mr. Vasan appears to ask
        for a pause in these proceedings premised on what he claims to be the imminency of a decision on
        a motion filed by Checkmate in the employment case that he filed against Checkmate in the Central




K&L GATES LLP
599 LEXINGTON AVENUE NEW YORK NY 10022-6030
T +1 212 536 3900 F +1 212 536 3901 klgates.com
       Case 1:25-cv-03181-JMF           Document 44        Filed 06/20/25      Page 2 of 3




District of California.1 While Mr. Vasan does not fully explain the basis of his request, his premise
appears to be that resolution of Checkmate’s motion in his employment case will obviate the need
for him to respond to the fraud allegations made against him in this forum. It will do no such
thing. As explained by Checkmate in its opposition to Mr. Vasan’s pending motion to dismiss,
the terms of Mr. Vasan’s transaction with Checkmate require the resolution of separate disputes
between the parties in New York and under New York law. See Opposition to Motion to Dismiss
at Section I (ECF No. 41). Although Checkmate believes that Mr. Vasan’s California claims also
must be dismissed because of the parties’ agreements, whatever the California court may
eventually determine on that point will not affect this Court’s exercise of jurisdiction. Moreover,
the California court has not provided any indication regarding the timing of any potential decision.
If Mr. Vasan believes that any eventual decision by the California court affects the proceedings
here or anywhere else, he will remain free to confer with counsel and make an appropriate request
for relief when such decision is actually issued – as, of course, will Checkmate.

It should also be noted that what Mr. Vasan appears to allude to is a tentative ruling provided to
the parties as a guide for oral argument that the parties – including Mr. Vasan – were expressly
ordered not to file in any other proceeding. Mr. Vasan shared a draft of his letter motion with
counsel that would have violated that order by expressly reproducing the document Mr. Vasan was
ordered not to file, then filed another version (ECF No. 38) that simply changes the express
reproduction to innuendo and allusions. Checkmate respectfully submits that both versions are
improper, premature and misleading: they violate the California Court’s direction and suggest
finality where the California Court has said there is none.

Finally, in the case of Mr. Vasan’s “Requests for Judicial Notice,” Mr. Vasan appears to ask that
the Court take judicial notice of dozens of pages of disorganized documents, including, among
other things, purported “filings containing inconsistent characterizations of Plaintiff’s separation”
(ECF 39-6, at 2-6), “service address and Texas residency assertions” (id., at 8-15); and mentions
in the complaint and the press of one of many individuals working for Checkmate with whom he
has a personal grievance (id., at 26-31). While the Court may, of course, take judicial notice of
limited matters not subject to reasonable dispute – such as, for example, the existence of litigation
initiated by Mr. Vasan pending in the Central District of California – Mr. Vasan’s untimely AI-
generated requests plainly stretch well beyond that, attempt to resolve factual disputes and invite
the Court to weigh competing inferences in violation of the Rules. See Global Net. Comms., Inc.
v. City of New York, 458 F.3d 150, 156 (2d Cir. 2006) (matters extraneous to complaint subject to
exclusion unless court converts motion to one for summary judgment and provides opportunity for




1
 As an initial matter, Plaintiff observes that filing a letter-motion seeking a “temporary stay” is
not in compliance with Local Civil Rule 7.1(e) or Your Honor’s Individual Rules and Practices.

                                                 2
                                                                                          June 20, 2025
       Case 1:25-cv-03181-JMF           Document 44        Filed 06/20/25      Page 3 of 3




discovery required by Rule 56). Checkmate respectfully submits that the Requests for Judicial
Notice and these documents should be stricken and/or disregarded for that reason.

For these and other reasons, Checkmate again respectfully requests that the Court (a) deny Mr.
Vasan’s AI-generated “temporary stay” motion (ECF 38) and (b) strike and/or disregard Mr.
Vasan’s AI-generated “requests for judicial notice.” Plaintiff also respectfully requests that Mr.
Vasan be instructed (i) to confer with Plaintiff’s counsel before making any further motions and
(ii) to request a pre-motion conference with the Court, by letter, before filing any additional
motions. Mr. Vasan’s vexatious litigation strategy, which he is pursuing in both New York and
California, continues to burden the Court and inflict significant and unwarranted costs on Plaintiff.


Respectfully submitted,

/s/ Thomas A. Warns
Thomas A. Warns
Partner




                                                 3
                                                                                          June 20, 2025
